       Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 1 of 8 PageID #:619



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RAYMONE CROCKWELL,

                Plaintiff,
                                                         No. 15 CV 825
           v.
                                                         Judge Manish S. Shah
THOMAS DART, SHERIFF OF COOK
COUNTY, and COOK COUNTY,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

         Defendants move for reconsideration of the court’s alternative holding for

granting Crockwell summary judgment on liability on his ADA claim over bathroom

access at the Leighton courthouse. [81].1 For the following reasons, the motion to

reconsider, [86], is denied.

I.       Legal Standard

         “Motions for reconsideration serve a limited function: to correct manifest

errors of law or fact or to present newly discovered evidence.” Caisse Nationale de

Credit Agricole v. CBI Indus., Inc., 90 F.3d 1264, 1269 (7th Cir. 1996). A “manifest

error” occurs when “the Court has patently misunderstood a party, or has made a

decision outside the adversarial issues presented to the Court by the parties, or has

made an error not of reasoning but of apprehension.” Bank of Waunakee v.

Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191 (7th Cir. 1990). Issues appropriate



1   Bracketed numbers refer to entries on the district court docket.
      Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 2 of 8 PageID #:620



for reconsideration “rarely arise and the motion to reconsider should be equally

rare.” Id.

II.     Analysis

        Crockwell was granted summary judgment on liability as to his ADA claim

relating to bathroom access at the Leighton courthouse for two reasons: (1) based on

the undisputed record, Crockwell was denied use of an accessible bathroom during

his near-monthly appearances at the Leighton courthouse, resulting in him soiling

himself on multiple occasions; and (2) defendants were precluded from relitigating

the issue of intentional discrimination against wheelchair-using detainees at the

Leighton courthouse prior to April 2014 by Lacy v. Dart, No. 14 C 6259 (N.D. Ill.).

[81] at 11–15. Defendants only seek reconsideration on this second, alternative

holding relating to issue preclusion—they do not seek reconsideration of (or even

address) the first reason for granting Crockwell summary judgment on this claim.

        Crockwell’s opening summary judgment brief argued that issue preclusion

barred the defendants from relitigating the issue of intentional discrimination

against wheelchair-using detainees at the Leighton courthouse prior to April 2014

by Lacy v. Dart, No. 14 C 6259 (N.D. Ill.). [67] at 12–15. Defendants responded that

issue preclusion was inapplicable because there had not been a final judgment in

Lacy and because it would be fundamentally unfair to bind defendants to the ruling

in Lacy when they did not yet have the opportunity to appeal. [73] at 10–14. In their

motion for reconsideration, defendants argue that issue preclusion is inapplicable

because the Lacy ruling was not a final order and because it deprives defendants of



                                          2
    Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 3 of 8 PageID #:621



the due process right to establish that they provided Crockwell with an ADA

accommodation.

      Defendants’ argument that the Lacy ruling was not a final order merely

rehashes its unsuccessful summary judgment and is therefore not appropriate for a

motion for reconsideration. See Caisse Nationale, 90 F.3d at 1270. Defendants’

arguments also fail on their merits. They contend that Bell v. Taylor, 827 F.3d 699

(7th Cir. 2016), cited in the summary judgment opinion, is distinguishable from the

instant action because it involved res judicata, not issue preclusion, in a copyright

infringement suit between the same parties. That Bell involved copyright

infringement is not a material distinction, and the distinctions between claim and

issue preclusion, as discussed below, do not support reconsideration.

      Defendants argue that in Bell, res judicata applied to the same parties, but

the parties in Lacy are not the same as the parties here. This is a distinction

between res judicata—which requires an identity of the parties or their privies,

Bell, 827 F.3d at 706—and issue preclusion—which does not require an identity of

both parties. But that is not a reason to reconsider my decision. Issue preclusion

requires that the party against whom issue preclusion is invoked must have been

fully represented in the prior action, and that element has been met in this case.

Adams v. City of Indianapolis, 742 F.3d 720, 736 (7th Cir. 2014); see Parklane

Hosiery Co. v. Shore, 439 U.S. 322, 326–31 (1979) (federal law no longer requires

mutuality for the “offensive” use of issue preclusion, application of which is within

the “broad discretion” of the trial court).



                                              3
    Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 4 of 8 PageID #:622



      Moreover, while Bell involved res judicata, it explained that “finality for

purposes of appeal is not the same as finality for purposes of preclusion,” 827 F.3d

at 707 (citing Wright & Miller, Fed. Practice & Procedure § 4432), and recognized

that the concept of finality is more flexible for issue preclusion than it is for res

judicata. Id. This is because “the need for a final judgment [in the case as a whole]

is not as compelling when the question is whether the determination of a single

issue actually decided in the first action should be given conclusive effect in a later

action between the parties on a different claim.” Gilldorn Sav. Ass’n v. Commerce

Sav. Ass’n, 804 F.2d 390, 393 (7th Cir. 1986). Under the facts particular to Bell, the

“relaxed concept of finality, at least for purposes of collateral estoppel, or issue

preclusion” was also expanded to res judicata. 827 F.3d at 707.

      Defendants argue, however, that the circumstances here should weigh in

favor of finding a lack of finality. Bell explained that whether a judgment is “final”

depends upon “the nature of the decision (i.e., that it was not avowedly tentative),

the adequacy of the hearing, and the opportunity for review.” 827 F.3d at 707

(quoting Lummus Co. v. Commonwealth Oil Ref. Co., 297 F.2d 80, 89 (2d Cir.

1961)). Defendants contend that the Lacy rulings were non-final, as the only

injunctive relief ordered related to wheelchair ramp access (not bathroom access)

and the summary judgment opinion was an interlocutory order. But finality for

issue preclusion means a decision that “was not avowedly tentative,” Bell, 827 F.3d

at 707, and “[t]he ultimate question is whether the ‘prior adjudication . . . is

determined to be sufficiently firm to be accorded conclusive effect.’” Gilldorn, 804



                                          4
    Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 5 of 8 PageID #:623



F.2d at 393 (quoting in part Miller Brewing Co. v. Joseph Schlitz Brewing Co., 605

F.2d 990, 996 (7th Cir. 1979)); see Restatement (Second) of Judgments § 13.

Sklyarsky v. Means-Knaus Partners, L.P., 777 F.3d 892 (7th Cir. 2015), is cited by

defendants for the proposition that a dismissal based on claim preclusion was

improper based on the district court’s interim ruling denying leave to add a

defendant, which was a non-final decision. As explained in Bell, however, the

concept of finality for issue preclusion is more flexible than finality for claim

preclusion. Moreover, in Skylarsky, the plaintiff was directed to bring a second suit,

which was then dismissed under claim preclusion.

      The    Lacy    holdings   on   defendants’    failure     to   provide    bathroom

accommodations for wheelchair-using detainees at the Leighton courthouse prior to

2014 were sufficiently firm and non-tentative to be accorded conclusive effect. The

Lacy opinions on the injunction (for wheelchair ramp accommodations) and

summary judgment (on ADA liability for five individual plaintiffs) made several

factual findings as to the inadequacy of the overall bathroom accommodations for

wheelchair-using detainees at the Leighton courthouse prior to 2014, which formed

the basis for the court’s determination that defendants had intentionally

discriminated   against   wheelchair-using     detainees      attending   the   Leighton

courthouse prior to 2014. See Lacy v. Dart, No. 14 C 6259, 2015 WL 5921810, at

*11–12 (N.D. Ill. Oct. 8, 2015) (“[T]he evidentiary record establishes that plaintiffs

have historically been denied access on the same basis as non-disabled detainees to

bathroom facilities at the six courthouses,” and “[g]iven that defendants did not . . .



                                          5
      Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 6 of 8 PageID #:624



provide a reasonable accommodation to allow wheelchair-using detainees to use

holding cell bathroom facilities on the same basis as non-disabled detainees, the

court finds that defendants have, in the past, violated plaintiffs’ rights pursuant to

the ADA.”); Lacy v. Dart, No. 14 C 6259, 2015 WL 7351752, at *4 (N.D. Ill. Nov. 19,

2015) (“[T]he record establishes that defendants deliberately failed to act to protect

plaintiffs’ rights until 2014” because “[d]efendants did not begin providing any

accommodations to wheelchair-using detainees with respect to the bathroom

facilities until the Spring of 2014.”).2 There is nothing avowedly tentative about

these rulings. Defendants also argue that the Lacy rulings should not be

precedential because subsequent damages trials for three of the five Lacy plaintiffs

resulted in two jury awards of $0 in compensatory damages and one of $600. This

argument, however, is not of great weight here because the undisputed record—

aside from issue preclusion—established defendants’ liability on the bathroom

issue. Moreover, there is undisputed evidence in the record that Crockwell soiled

himself several times, and so the record indicates that Crockwell incurred actual,

compensable damages.

         Defendants argue that they were not afforded an adequate hearing in Lacy,

despite having the opportunity to litigate the issue over seven days of hearings, plus

the summary judgment briefs and intermittent status reports from the parties with

evidentiary submissions. The Lacy court noted that some of parties’ factual

statements had been mooted by the injunction order and that it would not consider

2   Crockwell was in custody at the Cook County Jail from 2012 to 2013.


                                              6
    Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 7 of 8 PageID #:625



some of plaintiffs’ factual statements that did not abide by Local Rule 56.1. These

statements, however, do not show that defendants had an inadequate hearing. In

the summary judgment briefs in this case, even Cook County described the

proceedings in Lacy as a “six day bench trial,” [72] at 7, and it is clear that the

parties had the opportunity to develop an extensive record, including witness

testimony and multiple evidentiary submissions, on top of the parties’ summary

judgment submissions.

      Defendants argue that application of issue preclusion violates their due

process rights to defend themselves through evidence of accommodation. But at

summary judgment, defendants presented no evidence of accommodating Crockwell

to support such a defense at trial. Defendants cite to no such evidence in their

motion for reconsideration, and their due process argument ignores the other basis

for granting summary judgment on liability for the Leighton courthouse bathroom

issue. The undisputed record showed that the defendants knew of his disability and

did not provide him with accommodations, resulting in him soiling himself on

multiple occasions. [81] at 11. Defendants had the opportunity to raise a genuine

factual dispute on an accommodation defense but were unable to do so, and they do

not point to any evidence that was overlooked during summary judgment.

Regardless of issue preclusion from Lacy, Crockwell would have been granted

summary judgment on liability for this issue. Defendants’ due process rights were

not violated.




                                        7
       Case: 1:15-cv-00825 Document #: 88 Filed: 10/20/16 Page 8 of 8 PageID #:626



         Defendants have not shown a manifest error of law or fact requiring

reconsideration of the alternative holding for defendants’ liability on Crockwell’s

ADA claim based on bathroom accommodations at the Leighton courthouse.

III.     Conclusion

         Defendants’ motion for reconsideration, [86], is denied.

ENTER:

                                                ___________________________
                                                Manish S. Shah
                                                United States District Judge
Date: 10/20/2016




                                            8
